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                                                                                                                                        E-FILED
 AO 106 (Rev. 04/ 10) Application for a Search Warrant                                            Thursday, 12 March, 2020 09:13:49 AM
                                                                                                          Clerk, U.S. District Court, ILCD
                                        UNITED STATES DISTRICT                                 COURF               I LED
                                                                      for the
                                                           Central District ofTllinois                             MAR 1 0 2020
              In the Matter of the Search of                                                              CLERK OF THE COURT
                                                                         )                                U.S. DISTRICT COURT
          (Briefly describe the property to be searched                  )                             C~TaflL DISTRICT OF ILLINOIS
           or identify the person by name and address)                   )              Case No. 20-MJ- /   O
                                                                                                           :,,f!JANA, ILLINOIS
   THE RESIDENCE LOCATED AT 3707 BOULDER                                 )
    RIDGE DRIVE, CHAMPAIGN , ILLINOIS 61821                              )
                                                                         )

                                              APPLICATION FOR A SEARCH WARRANT
         l, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A, attached hereto and incorporated by reference

located in the               Central              District of                Illinois               , there is now concealed (iden tify the
                    -   -   - - - - --                          - - --   - - - -- - - -
person or describe the property lo be seized):
  See Attachment B, attached hereto and incorporated by reference.


          The basis for the search under Fed. R. Crim. P. 41 ( c) is (check one or more):
                 r'lf evidence of a crime;
                 r'lf contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                          Offense Description
        18 U.S.C. §841(a)(1)                       Distribution of Controlled Substances (Methamphetamine)



         The application is based on these facts:
        See affidavit of ATF Task Force Officer Cully Schweska, which is attached hereto and incorporated by reference.


           ~ Continued on the attached sheet.
          0 Delayed notice of       days (give exact ending date if more than 30 days: - - - - - ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the atta d he t.
                                                                                        s/Cully Schweska



                                                                                        ATF Task Force Officer Cully Schweska
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.                                       s/Eric Long

Date:
                                                                                {                   Judge's signature

City and state: Urbana, Illinois                                                     Eric I. Long, United States Magistrate Judge
                                                                                                  Printed name and title
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                       IN THE UNITED STA TES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

  IN THE MATTER OF THE SEARCH OF
                                               Case No.      Jo-    M:r-     7o5°
  THE RESIDENCE LOCATED AT
  3707 BOULDER RIDGE DRIVE,
  CHAMPAIGN, ILLINOIS 61821

                           AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR A SEARCH WARRANT


 I, Cully Schweska, being, first duly sworn, hereby depose and state as follows:

       1.     I am a police officer with the Champaign Police Department and have

been so employed since January 2013. I am currently assigned to the Investigations

Division as a detective, with a primary function of investigating felony offenses under

the Illinois Compiled Statutes, including firearms and drug-related offenses. I am also

currently assigned as a task force officer (TFO) for the Bureau of Alcohol, Tobacco,

Firearms, and Explosives (A TF) and have been so assigned for one year. In my role as a

TFO for the ATF, I investigate violations of Title 18 of the United States Code, as

amended, including firearms-related offenses. Prior to my employment with the

Investigations Division of Champaign Police Department, I was a member of the Street

Crimes Task Force for approximately three years. In this role, I was responsible for the

investigation of firearm- and narcotics-related investigations.

      2.     The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.
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  This affida~it is intended to show merely that there is sufficient probable cause for the

 requested warrant and does not set forth all of my knowledge about this matter.

        3.      This affidavit is submitted in support of an application for a warrant to

 search the entire premises located at 3707 Boulder Ridge Drive Champaign, Illinois

 61821 (hereinafter "SUBJECT PREMISES"), which is more particularly described in

 Attachment A, for the items specified in Attachment B, which items constitute

 instrumentalities, fruits, and evidence of violations of Title 21, United States Code,

 Sections 841(a)(l), and (b)(l)(A), distribution of or possession with intent to distribute

controlled substances, and of Title 18, United States Code, Section 1957, money

laundering.

       4.      Based upon the following information, there is probable cause to believe

that Wardell M. DOCKERY has utilized the SUBJECT PREMISES to facilitate his drug-

trafficking activities, in violation of Title 21, United States Code, Section 841(a)(l). As

such, there is probable cause to believe that, located within SUBJECT PREMISES, there

is currently evidence, fruits, and instrumentalities of illegal trafficking in controlled

substances and/ or money laundering. I am seeking authority to search the entire

SUBJECT PREMISES for items specified in Attachment B and to seize all items specified

in Attachment B.

                                   PROBABLE CAUSE

       5.     In my capacity as an Alcohol, Tobacco, Firearms and Explosives Task

Force Officer and Champaign Police Detective, I have conducted an investigation that

has shown Wardell Money Dockery (hereinafter referred to as DOCKERY) is currently
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  involved in the trafficking of methamphetamine in the Champaign County, Illinois,

  area.

                             Confidential Informant Background

           6.    The Confidential Informant (CI) involved in the investigation into

 DOCKERY has previously provided Det. Phenicie and myself with detailed information

 regarding persons involved in drug trafficking and firearms related offenses in the

 Champaign area . The information provided by this CI in the past has all been

 corroborated and/ or proven true.

          7.    The CI is cooperating with law enforcement in the present investigation

for consideration on his/her pending charges for aggravated driving under the

influence of drugs and felony retail theft. Furthermore, the CI has received monetary

benefit for the information provided (less than seven hundred dollars). Detective

Phenicie and I believe the CI to be reliable and accurate based on (1) our interactions

and dealings with him/her and (2) the corroboration from other sources of the

information the CI provided.

          8.    In addition to the above-described pending charges, I am aware through

criminal history records check that the CI has prior convictions for the following: three

drug possession felony offenses, including two convictions in the previous two years;

and two theft-related felony offenses between 2005 and 2015.

                                Initiation of Investigation

      9.        In my role as a CPD detective and ATF TFO, I learned in December 2019

from Champaign Police Detective Phenicie and CPD Detective Christian, as well as
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  Urbana Investigator Matthew Quinley, that DOCKERY was actively involved in drug

  trafficking activities within the Champaign, Illinois, area. 1his information had been

  provided by a separate confidential informant who has also been proven to be accurate

 in the past. I then was provided supplemental intelligence by CPD Detective Corey

 Phenicie confirming this information about DOCKERY's involvement in narcotics

 trafficking. Det. Phenicie advised me that, in his official capacity as a Champaign Police

 detective, he has become acquainted with a confidential informant (hereinafter referred

 to as "CI") who advised s/he was able to purchase methamphetamine "ice" from

 DOCKERY.

        10.   During the month of December 2019, Detective Phenicie and your affiant

met with the CI and were advised of the following information: The CI stated he/ she

has been personally involved in the sale/ distribution and consumption of

methamphetamines for approximately one year. He/she advised that, during that time,

he/she has utilized a muscular black male known to him/her by the street name

"Money" as his/her source of crystal methamphetamine. The CI further advised that

he/ she has seen "Money" in possession of large amounts of crystal methamphetamine,

as well as large amounts of currency. Furthermore, the CI advised that "Money" has

attempted to sell firearm(s) to the CI. Additionally, the CI provided telephone number

217-530-8188 for "Money."

       11.    Through prior investigations and police encounters, Detective Phenicie

and your affiant are aware of an individual identified as Wardell Money Dockery, who

utilizes the street name "Money." Detective Phenicie and I are also aware that
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  DOCKERY is a black male, muscular in stature. DOCKERY has a history of

 involvement in narcotics trafficking, including six prior arrests and four convictions for

 drug-related offenses. DOCKERY' s most recent conviction was a 2015 conviction for

 delivery of a controlled substance. For this offense, DOCKERY was sentenced to eleven

 (11) years in the Illinois Department of Corrections and remains on parole for that

 offense currently (projected discharge date of March 22, 2021 ). During this initial

 briefing conducted by Detective Phenicie and your affiant, the CI was shown a digital

 image of DOCKERY that had no identifiers viewable. The CI readily identified the

 person in the photo as "Money." Lastly, your affiant confirmed the phone number

 provided by the CI of 217-530-8188 is the same telephone number DOCKERY provided

to his parole officer, Agent Roger Smetzer.

       12.    After receiving the above-described information, your affiant utilized the

CI to conduct a series of six controlled purchases of crystal methamphetamine from

DOCKERY. The following is a summary of the controlled purchases that have been

conducted.

                                   Controlled Purchases

Controlled Purchase No.1

      13.    On December 19, 2019, officers/ agents met with the CI for the purpose of

conducting the first controlled purchase of one-half ounce of crystal methamphetamine

from DOCKERY. In the presence of law enforcement on a recorded telephone line, the

CI called DOCKERY on telephone number 217-530-8188. A male identified by the CI as

DOCKERY answered. In this recorded call, the CI and DOCKERY agreed to meet at a
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  pre-arranged location within the Central District of Illinois in Champaign, Illinois. Prior

  to the controlled purchase, the CI and CI' s vehicle were searched for currency and

 contraband with negative results. The CI was then_provided with $360 official advanced

 funds (OAF) and equipped with a video/ audio recording device. The CI then entered

 his/her vehicle and waited for DOCKERY to arrive to the location. Officers/ agents

 remained out of sight of DOCKERY, but maintained constant visual sw-veillance of the

 CI during this time.

        14.    DOCKERY called the CI and informed him/ her that.DOCKERY was

 arriving at the meet location. At approximately 3:39 p.rn. on December 13, 2019,

officers/ agents observed a black colored Jaguar sedan bearing Illinois Registration

BW22227 arrive at the meet location. At that time, officers/ agents were unable to see

inside of the vehicle due to the Jaguar having dark, heavily tinted windows. Upon

arrival, the Jaguar parked near the Cl's vehicle. Officers/ agents then observed the CI

exit his/ her vehicle and enter the black colored Jaguar.

       15.    Less than one minute later, officers/ agents observed the CI exit the

Jaguar, and then the Jaguar departed the area. The CI reentered his/ her vehicle and

awaited the instruction of officers/ agents while under the constant visual surveillance

of officers/ agents.

       16.    Once DOCKERY was out of the vicinity of the buy location, the CI met

with officers/ agents and provided them with the purported crystal methamphetamine

that the CI had purchased from DOCKERY. The CI then advised the officers that, when

he/ she entered the Jaguar, DOCKERY was the sole occupant. The CI stated he/ she
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 handed DOCKERY $360 of United States Currency (official advanced funds) and in

 exchange, DOCKERY handed the CI a quantity of crystal methamphetarnine. The

 controlled purchase was video recorded utilizing a mobile video recording device,

 which confirmed the Cl's description of events. Upon review, the video recording did

 not capture DOCKERY' s face.

        17.    The crystal methamphetamine obtained from DOCKERY by the CI was

 field-tested and returned a positive result for methamphetamine. It weighed

 approximately 15.1 grams with packaging. The substance has been sent to the Illinois

State Police Crime Laboratory for further analysis and the results are still pending.

Controlled Purchase No. 2

       18.    On January 7, 2020, officers/ agents met with the CI for the purpose of

conducting a second controlled purchase of one-half ounce of crystal methamphetamine

from DOCKERY. Through additional investigation described in further detail in

Paragraph 59 below, law enforcement officers were aware that DOCKERY often is

located at the residence at 3707 Boulder Ridge, Champaign, Illinois (the SUBJECT

PREMISES). In advance of the second controlled purchase, officers/ agents positioned

themselves outside of the SUBJECT PREMISES to conduct surveillance. Officers

observed the same black colored Jaguar bearing Illinois registration BW22227 that had

been utilized in Controlled Purchase No. 1 parked outside of the building at the

SUBJECT PREMISES.

      19.     Other officers/ agents met with the CI at a separate location. Once again,

the CI made a recorded phone call to DOCKERY at 217-530-8188 and a male identified
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  by the CI as DOCKERY answered. The CI and DOCKERY agreed to meet at a specific

 location within the Central District of Illinois in Champaign, Illinois. Prior to this

 meeting, the CI and CI' s vehicle were searched by law enforcement for currency and

 contraband with negative results. The CI was then provided with $360 official advanced

 funds (OAF) and equipped with audio/video recording devices. The CI then .e ntered

 his/her vehicle, which was parked at the meet location, and waited for DOCKERY to

 arrive. Officers/ agents again remained outside of sight, but maintained constant visual

 surveillance of the CI. The CI was then instructed to exit his/her vehicle and await the

 arrival of DOCKERY.

        20.    The officers/ agents stationed at the SUBJECT PREMISES, observed

DOCKERY exit that residence and enter the Jaguar sedan. The Jaguar then proceeded

toward the buy location. DOCKERY' s vehicle was followed toward the meet location

and was observed making a brief stop at a convenience store. Once DOCKERY's vehicle

stopped at the store, officers/ agents observed DOCKERY exit the front passenger seat

of the Jaguar sedan and enter the convenience store. Moments later, DOCKERY was

observed exiting said store, re-entering the Jaguar, and proceeding directly to the meet

location. Officers/ agents maintained constant visual surveillance of the Jaguar during

this time; during its travel from the store to the buy location, no one exited the vehicle.

       21 .   At approximately 2:12 p.m., officers/ agents observed DOCKERY's vehicle

arrive at the meet location. At that time, officers/ agents were unable to see inside of the

vehicle due to heavily dark tinted windows. The Jaguar parked near the Cl's vehicle,
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  and officers/ agents observed the CI walk toward DOCKERY's vehicle. The CI then

  opemed the rear passenger door to the Jaguar in which DOCKERY was located.

         22.   At approximately 2:13 p.m., officers/ agents observed the CI exit

 DOCKERY's vehicle, close the door, and then the Jaguar sedan departed the area. The

 CJ then entered his/ her vehicle and awaited the instruction of officers/ agents, while

 under the constant visual surveillance of officers/ agents.

        23.    Once DOCKERY was out of the vicinity of the buy location, the CI met

 with officers/ agents and provided them with the purported crystal metharnphetamine

 that the CI had purchased from DOCKERY. The CI stated when he/ she opened

 DOCKERY' s vehicle door, he/ she had observed an unknown female in the driver's

seat, DOCKERY in the front passenger seat, and an unknown male passenger in the rear

passenger seat. The CI stated he/ she handed DOCKERY $360 of United States

Currency/ official advanced funds (OAF) and in exchange, DOCKERY handed the CI a

quantity of crystal metharnphetamine from the front passenger seat. DOCKERY and the

CI had a brief conversation prior to the CI exiting the Jaguar. Upon review of the covert

recording, the video captured the front seat passenger, whose face was not readily

identifiable, turning his/her body and extending his/her arm toward the middle

console area of the vehicle. These actions were consistent with the location the CI stated

DOCKERY had been seated during the drug transaction and money exchange.

Furthermore, there was also a black male visible in the recording, seated in the backseat,

located behind the driver's seat, which was consistent with the CI' s statement. The side
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  profile of the male was captured on the video surveillance. Law enforcement, however,

  was not able to identify this male.

         24.    The purported crystal methamphetamine obtained from DOCKERY

  during the second controlled purchase was field-tested with positive results and

 weighed approximately 14.7 grams with packaging. The substance has been sent to the

 Illinois State Police Crime Laboratory for analysis and the results are still pending.

 Controlled Purchase No. 3

        25.     On February 5, 2020, officers/ agents met with the CI for the purpose of

 conducting a third controlled purchase of one ounce of crystal methamphetamine from

 DOCKERY. In advance of this controlled purchase, officers/ agents again positioned

 themselves outside of the SUBJECT PREMISES and observed a silver Chrysler 300

 bearing Illinois Registration BV17275 parked outside. Other officers/ agents met with

the CI at a separate location. Once again, the CI made a recorded phone call to

DOCKERY at 217-530-8188 and a male identified by the CI as DOCKERY answered. The

CI and DOCKERY agreed to meet at a specific location within the Central District of

·Illinois in Champaign, Illinois. Prior to this meeting, the CI and CI' s vehicle were

searched for currency and contraband with negative results. The CI was then provided

with $600 official advanced funds (OAF) and audio/video recording devices. The CI

then waited at the meet location for DOCKERY to arrive. During this wait, officers/

agents maintained constant visual surveillance of the CI.

       26.     After the recorded call was completed, officers/ agents observed

DOCKERY exit the SUBJECT PREMISES and enter a silver Chrysler 300 bearing Illinois
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  Registration BV17275. The Chrysler then proceeded toward the pre-arranged buy

  location. During the course of mobile surveillance, officers/ agents temporarily lost

 visual of DOCKERY' s vehicle as it exited the west side of Boulder Ridge subdivision.

        27.     Approximately seven minutes later, officers/ agents reacquired visual of

 the same Chrysler at the intersection of W. Bloomington Road and N. Prospect Avenue

 in Champaign, Illinois. Officers/ agents followed the Chrysler while maintaining

 constant visual surveillance of the Chrysler as it proceeded to travel onto I-74,

 eastbound.

        28.    The Chrysler exited 1-74 onto N. Cunningham Avenue and traveled

southbound before turning eastbound on Perkins Road Urbana, Illinois. DOCKERY's

vehicle then made an abrupt turn into an unknown driveway before officers/ agents

lost visual contact of the vehicle.

       29.    Approximately twenty-two minutes later, officers/ agents reacquired the

same Chrysler 300 as it arrived in the immediate vicinity of the meet location. The

Chrysler then arrived at the meet location. At that time, officers/ agents were unable to

see inside of the vehicle due to heavily dark tinted windows. The vehicle parked near

the Cl's location and officers/ agents observed the CI walk toward the Chrysler 300

sedan and enter the rear-passenger seat of the vehicle.

       30.    Approximately one minute later, officers/ agents observed the CI exit the

Chrysler, close the door to the vehicle, and then the Chrysler departed the area. The CI

then proceeded back to the meet location while under the constant visual surveillance

of officers/ agents.
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         31.    Once DOCKERY was out of the vicinity of the buy location, the CI met

  with officers/ agents and provided them with the purported crystal methamphetamine

  that the CI purchased from DOCKERY. During the debrief, the CI advised that, when

 he/ she opened the door to the Chrysler, he/she observed a female in the front

 passenger seat, and DOCKERY in the driver's seat. The CI advised the female in the

 front passenger seat has sold him/ her narcotics on a prior occasion. Once the CI had

 entered the Chrysler, DOCKERY handed the CI a quantity of crystal methamphetamine

 from the front seat and in exchange, the CI handed DOCKERY $600 of United States

 Currency/ official advanced funds (OAF). DOCKERY and the CI had a brief

 conversation which was recorded on the covert audio/ video recording device. Upon

review of the covert video recording, the video depicts the CI entering the backseat of

the silver Chrysler 300. The CI and a male have a conversation, which was captured on

the device, and the Cl's hand is observed reaching toward the front seats with the OAF

in hand. A few second later, the CI is observed with a clear plastic bag in hand before

the CI returns to officers/ agent's location. Though DOCKERY's voice can be heard on

the recording, his face is not visible

       32.     The purported crystal methamphetamine obtained from DOCKERY by

the CI during the third controlled purchase was field-tested with positive results and

weighed approximately 29.0 grams with packaging. The substance has been sent to the

Drug Enforcement Administration (DEA) forensic laboratory for analysis and the

results are still pending.
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  Controlled Purchase No. 4

        33.    On February 13, 2020, officers/ agents met with the CI for the purpose of

 conducting a fourth controlled purchase of one-quarter ounce (7 grams) of crystal

 methamphetamine by the CI from DOCKERY. Through additional investigation

 described in further detail below, law enforcement officers were aware that DOCKERY

often is also located at the residence at 1698 Hamilton Drive, Urbana, Illinois. In

advance of the controlled purchase, officers/ agents positioned themselves outside of

the trailer located at 1698 Hamilton Drive Urbana, Illinois, address. Other officers/

 agents met with the CI at a separate location. Once again, the CI made a recorded phone

call to DOCKERY at217-530-8188 and a male identified by the CI as DOCKERY

answered. The CI and DOCKERY agreed to meet at a pre-arranged location within the

Central District of Illinois in Champaign, Illinois. Prior to this meeting, the CI was

searched for currency and contraband with negative results. The CI was then provided

with $200 official advanced funds (OAF) and audio/video recording devices. The CI

then waited, at the meet location, for DOCKERY to arrive while officers/ agents

maintained constant visual surveillance of the CI.

       34.    While the CI was speaking to DOCKERY via telephone, officers/ agents

observed DOCKERY arrive at1698 Hamilton Drive in Urbana, Illinois 61802 in the

same silver Chrysler bearing Illinois Registration BV17275 and park in the driveway.

DOCKERY was then observed exiting said vehicle and entering the north side door to

the trailer. When he entered the residence at1698 Hamilton Drive in Urbana, Illinois

61802, surveilling officers observed DOCKERY appeared to be talking on a telephone.
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                35. Moments after the CI called DOCKERY, officers/ agents observed

  DOCKERY exit the residence at 1698 Hamilton Drive in Urbana, Illinois 61802, and re-

 enter the Chrysler. DOCKERY then drove the Chrysler through the trailer park toward

 the west entrance near Cunningham Drive. During this drive through the trailer park,

 visual surveillance was temporarily lost on the Chrysler.

          36.      Approximately seven minutes later, officers/ agents reacquired visual of

 DOCKERY' s vehicle at a parking lot of an area store. The driver of the Chrysler met

 with a pickup truck temporarily before leaving the parking lot. Based on my training

 and experience investigating drug-trafficking, this quick interaction between two

persons appeared consistent with a narcotics transaction. Moments later, officers/

agents again lost visual surveillance of the Chrysler as it exited the parking lot of the

store.

         37.      Approximately twelve minutes later, officers/ agents observed the same

silver Chrysler 300 arrive at the meet location where the CI was waiting. The vehicle

parked near the Cl's location, and officers/ agents observed the CI walk toward the

Chrysler 300 sedan and enter the front-passenger seat of the vehicle.

         38.      After approximately one minute, officers/ agents observed the CI exit the

Chrysler, close the door to the vehicle, and then Chrysler sedan departed the area. The

CI then proceeded back to the meet location while under the constant visual

surveillance of officers/ agents.

         39.      Once DOCKERY was out of the vicinity of the buy location, the CI met

with officers/ agents and provided them with the purported crystal methamphelamine
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  that the CI purchased from DOCKERY. The CI stated when he/ she opened

 DOCKERY's door, DOCKERY was the sole occupant of the vehicle. The CI stated he/

 she handed DOCKERY $200 of United States Currency /OAF and in exchange,

 DOCKERY handed the CI a quantity of crystal methamphetamine. DOCKERY and the

 CI had a brief conversation which was recorded on the covert audio/ video recording

 device. Upon review of this recording, the video depicts the CI entering the front

 passenger seat of the silver Chrysler 300. The CI and DOCKERY have a conversation,

 which was captured on the device, and the CI is observed completing an apparent

hand-to-hand transaction with DOCKERY. DOCKERY's face is readily identifiable on

the covert footage . DOCKERY can then be seen taking the OAF from the CI and

counting it before placing it into the cupholder. A few second later, the CI exited

DOCKERY' s vehicle and returned to officers/ agent's location.

       40.    The purported crystal methamphetamine obtained from DOCKERY by

the CI was field-tested with positive results and weighed approximately 8.0 grams with

packaging. The substance has been sent to the Drug Enforcement Administration (DEA)

forensic laboratory for analysis, and the results are still pending.

Controlled Purchase No. 5

       41.    On February 20, 2020, officers/ agents met with the CI for the purpose of

conducting a fifth controlled, purchase of one-half ounce (14 grams) of crystal

methamphetamine by the CI from DOCKERY. In advance of the controlled purchase,

officers/ agents positioned themselves outside of the trailer located at 1698 Hamilton

Drive in Urbana, Illinois 61802. Other officers/ agents met with the CI at a separate
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  location. Once again, the CI made a recorded phone call to DOCKERY at 217-530-8188

 and a male identified by the CI as DOCKERY answered. The CI and DOCKERY agreed

 to meet at a specific location within the Central District of Illinois in Champaign,

 Illinois. Prior to this meeting, the CI and his/ her vehicle were searched for currency

 and contraband with negative results. The CI was then provided with $360 OAF and

 equipped with audio/video recording devices. The CI then entered his/her vehicle, and

 proceeded directly to the prearranged meet location to wait for DOCKERY to arrive,

 while officers/ agents maintained constant visual surveillance of the CI.

       42.    Prior to the above-described recorded telephone call between DOCKERY

and the CI, officers/ agents observed the same silver Chrysler 300 bearing Illinois

Registration BV17275 parked in the driveway at 1698 Hamilton Drive in Urbana.

       43.    After the above-described call was completed, the CI entered his/her

vehicle and proceeded directly to the pre-arranged buy location. The CI was followed

by officers, who maintained constant visual surveillance of the CI. The CI arrived at

the buy location to await DOCKERY' s arrival, while still under surveillance.

       44.    After the CI arrived at the buy location, DOCKERY exited the residence

at 1698 Hamilton Drive in Urbana through the front door. DOCKERY then proceeded to

the silver Chrysler, entered the vehicle momentarily, then exited the vehicle and re-

entered the 1698 Hamilton Drive address.

      45. Moments later, DOCKERY was again observed exiting 1698 Hamilton

Drive in Urbana, Illinois 61802. Surveilling officers observed that DOCKERY appeared
                                         I
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 to be talking on a cellular phone. DOCKERY then entered the driver's seat of the

 Chrysler 300 and backed out of the driveway at the 1698 Hamilton Drive address.

 Officers/ agents maintained constant visual surveillance of the Chrysler as it

 proceeded directly to the buy location and parked.

        46.    Upon DOCKERY's arrival at the buy location, the CI exited his/ her

 vehicle and entered the front seat of the Chrysler. Approximately one minute later, the

 CI exited DOCKERY'svehicle and returned to his/ her vehicle while officers/ agents

 maintained constant visual surveillance of the CI and DOCKERY. The CI was followed

 until he/ she met officers/ agents at a pre-arranged location while other

officers/ agents maintained constant visual surveillance of DOCKERY and the

Chrysler as he traveled back to 1698 Hamilton Drive in Urbana, Illinois 61802.

       47. After the Chrysler arrived back at the 1698 Hamilton Drive in Urbana,

officers observed DOCKERY exited the vehicle and prnceed to an entry door to the

residence. Officers/ agents then observed DOCKERY appearing to utilize keys to gain

entry into the 1698 Hamilton address.

       48.    Officers/ agents again met with the CI following the controlled purchase.

The CI provided officers with the purported crystal methamphetamine that the CI had

purchased from DOCKERY. The CI stated when he/ she arrived at the pre-arranged

meet location he/ she contacted DOCKERY via telephone. The CI stated he/ she

awaited DOCKERY's arrival and exited his/ her vehicle as DOCKERY parked. The CI

entered the front passenger seat and observed DOCKERY as the sole occupant of the
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  vehicle. DOCKERY handed the CI a quantity of crystal methamphetamine and in

  exchange, the CI handed DOCKERY $360 dollars of Official Advanced Funds (OAF).

  DOCKERY. The CI had a brief conversation with DOCKERY, which was recorded on a

 covert audio/video recording device. Upon review of this recording, the video depicts

 the CI contacting DOCKERY upon his/ her arrival at the pre-arranged meet location.

 The CI then exits his/ her vehicle and enters the front passenger seat of the silver

 Chrysler 300. The CI and DOCKERY have a conversation, which was captured on the

 device, and DOCKERY's face is readily identifiable in the video. DOCKERY can be

 seen extending his arm toward the CI, who is seated in the front passenger seat, and

 was later observed holding currency (the hand-to-hand transaction was not captured).

 DOCKERY then places currency near the cup holder of the vehicle as the CI and

DOCKERY have a brief conversation. A few seconds later, the CI exits DOCKERY's

vehicle and returns to officers/ agent's location.

        49.   The purported crystal methamphetamine obtained from DOCKERY by

the CI was field-tested with positive results and weighed approximately 14.9 grams

with packaging. The substance has been sent to the Drug Enforcement Administration

(DEA) forensic laboratory for analysis and the results are still pending.

Controlled Purchase No. 6

        50.   On March 3, 2020, officers/ agents met with the CI for the purpose of

conducting a sixth controlled purchase of crystal methamphetamine by the CI from

DOCKERY. In advance of this controlled purchase, officers/ agents again

positioned themselves outside of the 1698 Hamilton Drive in Urbana, Illinois 61802.

Other
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                                                                        -.
  officers/ agents met with the CI at a separate location. Once again, the CI made a

 recorded phone call to DOCKERY at 217-530-8188 and a male identified by the CI as

 DOCKERY answered . The CI and DOCKERY agreed to meet at a specific location

 within the Central District of Illinois in Champaign, Illinois. Prior to this meeting, the CI

 and his/ her vehicle were searched for currency and contraband with negative results .

 The CI was then provided with official advanced funds (OAF) and equipped with

 audio/video recording devices. The CI then entered his/her vehicle, and proceeded

 directly to the meet location to wait for DOCKERY to arrive, while officers/ agents

 maintained constant visual surveillance of the CI.

       51 .     Prior to the above-described telephone call between DOCKERY and the

CI, officers/ agents observed the same silver Chrysler 300 bearing Illinois

Registration   BV1 7275   parked in the driveway at 1698   Hamilton   Drive in Urbana, Illinois.

       52.     After the CI arrived at the pre-arranged buy location, the front door of

the 1698 Hamilton Drive address opened, and officers observed DOCKERY and an

unknown female exit. DOCKERY then proceeded to the silver Chrysler and entered

the vehicle driver's seat of the vehicle; the female entered the front passenger seat. The

Chrysler 300 then backed out of the driveway at the 1698 Hamilton Drive in Urbana .

Officers/ agents maintained constant visual surveillance of DOCKERY' s vehicle as it

proceeded directly to the buy location and parked.

      53 .     Upon arrival at the buy location, the Chrysler parked near another

vehicle and the female occupant of the Chrysler was observed exiting the front
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  passenger seat, while DOCKERY remained inside. An unknown male then entered the

 front passenger seat of the Chrysler, where he remained for less than thirty seconds. ·

        54.    Upon DOCKERY' s arrival at the pre-arranged buy location, the CI exited

 his/ her vehicle and proceeded toward the Chrysler. Upon the Cl's arrival at the

 Chrysler, the unknown male exited the front seat of the vehicle and the CI then entered

 the front seat. Approximately one minute later, the CI exited DOCKERY's vehicle. The

 unknown female who had traveled to the buy location with DOCKERY was then

 observed re-entering the Chrysler. The CI then returned to his/ her vehicle while

 officers/ agents maintained constant visual surveillance of the CI and DOCKERY. The

CI was followed until he/ she met officers/ agents at a pre-arranged location while

other officers/agents maintained constant visual surveillance of DOCKERY as he left

the pre-arranged buy location. DOCKERY was followed as he proceeded toward a

business. DOCKERY then turned around and proceeded back to the 1698 Hamilton

Drive in Urbana, Illinois 61802.

       55.    After arriving at the 1698 Hamilton Drive, DOCKERY and the female

exited the Chrysler 300 and proceeded to an entry door to the residence. Officers/

agents then observed DOCKERY appearing to utilize keys to gain entry into the

residence before entering.

      56.     Officers/ agents met with the CI. Upon meeting him/ her, the CI

provided them with the purported crystal methamphetamine that the Cl purchased

from DOCKERY. The CI stated when he/ she arrived at the pre-arranged meet
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 location he/ she contacted DOCKERY via telephone. The CI stated he/ she awaited

 DOCKERY's arrival and exited his/ her vehicle as DOCKERY parked. As the CI

 approached DOCKERY' s vehicle, an unknown white male exited the front passenger

 seat and walked away. The CI then entered the front passenger seat and observed

 DOCKERY as the sole occupant of the vehicle. DOCKERY handed the CI a quantity of

 crystal methamphetamine and in exchange, the CI handed DOCKERY the Official

 Advanced Funds (OAF) . DOCKERY and the CI had a brief conversation which was

 recorded on a covert audio/ video recording device. Upon review of this recording,

 the video depicts the CI contacting DOCKERY upon his/ her arrival at the meet

location. The CI then exits his/ her vehicle and observes the unknown white male

before the CI then enters the front passenger seat of the silver Chrysler 300. The CI and

DOCKERY have a conversation, which was captured on the device. DOCKERY' s face

is readily identifiable on the video. DOCKERY can be seen extending his arm toward

the CI, who is seated u:i the front passenger seat, and was later observed holding

currency. Furthermore, a portion of the hand-to-hand transaction was captured. A few

seconds later, the CI exits DOCKERY' s vehicle and returns to officers/ agent's location.

       57.       The purported crystal methamphetamine obtained from DOCKERY by

the CI during the sixth controlled purchase was field-tested with positive results and

weighed in excess of 28 grams with packaging. The substance has been sent to the Drug

Enforcement Administration (DEA) forensic laboratory for analysis and the results are

still pending.
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                                  Additional Investigation

         58.    Following the first controlled purchase in December 2019, Detective

 Phenicie conducted an Illinois Secretary of State query on license plate number

 BW22227, the Illinois registration attached to the black Jaguar XF. Illinois Secretary of

 State Records indicate that the Jaguar XF is registered to a female named ALANTA N.

 WALLACE [F/B, DOB: 08/09/93, hereinafter referred to as "WALLACE"] with a listed

 address of 419 N. Bowman Avenue Danville, Illinois 61832. It is unknown what

 DOCKERY and WALLACE's relationship is; however, a check of social media revealed

 DOCKERY and a female with the profile name' Alanta Wallace' are 'friends' on

Facebook. It is also known from previous investigations conducted by the Champaign

Police Department that DOCKERY has associates and family who reside in the Danville

(IL) area .

        59.    After identifying the registration on the Jaguar XF, Detective Phenicie

conducted periodic area checks of various locations in the Champaign-Urbana area and

located the Jaguar XF parked in the driveway of 3707 Boulder Ridge Champaign,

Illinois on December 30, 2019, while conducting another unrelated investigation. After

locating the Jaguar XF on December 30, 2019, officers/ agents conducted routine spot

checks at 3707 Boulder Ridge Champaign, Illinois, over the following weeks and

routinely observed the Jaguar parked outside that residence. Of note, the last time the

Jaguar was located at this residence was in February 2020.

       60.     Following the third conu·olled purchase in February 2020, Detective

Phenicie also conducted an Illinois Secretary of State query on license plate number
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  BV17275, the Illinois registration which is attached to the silver Chrysler 300. Illinois

 Secretary of State Records indicate that the Chrysler 300 is registered to a female named

 Melina CJ. Evans [F /B, DOB: 12/11/91, hereinafter referred to as "EVANS"} with a

 listed address of 409 S. Dodson Drive Urbana, Illinois 61802. It is known from previous

 investigations conducted by the Champaign Police Department and social media posts

 that EVANS is DOCKERY's sister.

        61 .   Officers/ agents have observed the Chrysler 300 bearing BV17275 parked

 in the driveway or in front of the SUBJECT PREMISES, on various dates during the

 months of February and March 2020. These checks have been conducted by detectives

in the early morning hours, as well as in the late evening hours.

                Additional Information Regarding the Subject Premises

       62.     During the second controlled purchase, which occurred on January 7,

2020, officers/ agents observed a black colored Chrysler sedan bearing Illinois

Registration BT50239 in the driveway of the SUBJECT PREMISES. A check of the

Illinois Secretary of State query on license plate number BT50239, the Illinois

registration which is attached to the black Chrysler 300. Illinois Secretary of State

Records indicate that the Chrysler 300 is registered to a male named "Robert Williams"

with a listed address of 2504 Carrelton Drive Champaign, Illinois 61821. I conducted a

check in the Area Wide Records Management Systems [ARMS] and conducted an

address look-up for 2504 Carrel ton Drive Champaign, Illinois. The results of the check

revealed a male named, Robert Earl Williams [M/B, DOB: 7/18/86, hereinafter referred

to as "WILLIAMS"]. It is knm,vn from previous investigations conducted by the
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Champaign Police Department that WILLIAMS and DOCKERY are long-time associates

of one another and involved in suspected criminal activities. Additionally, the two men

have been linked on social media accounts. They are often pictured together and

commenting/ liking each other's social media posts, most often on Facebook.

      63.    Since the month of June 2019, the Champaign Police Department has

received six (6) separate Crime Stoppers anonymous tips regarding DOCKERY and

WILLIAMS' involvement in narcotics sales. A following is a summary of those tips:

             a.    An anonymous tip received in June 2019 reports DOCKERY is

             "selling drugs out car wit Rob Williams and <loony laroo. All on parole

            and in rental cars." This tip also lists DOCKERY's telephone number as

            "217530818." (To note, the phone number utilized by the CI in this

            investigation to reach DOCKERY is 217-530-8188.)

             b.    A December 2019 tip reported, "Wardell dockery and Robert

            Williams is selling big drugs riding foreign cars illegally bought with

            drug money and also selling out of a 3 story home they seem to share

            together." This tip also lists DOCKERY' s telephone number as

            2175308188.

            c.    A second December 2019 reported "Wardell dockery is selling big

            drugs out of town house in a women's name and car." This tip also listed

            DOCKERY's telephone number as 2175308188, and posted a photograph

            of DOCKERY standing in what appears to be a town home that is
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 consistent in appearance with a town home located in the Boulder Ridge

 Subdivision.

     d.    A January 2020 tip reported, "Dis guys is sell big bag of marijuana

 and dope on Face book and snap chats wardell dockery Robert willaims.".

 The social rnedia accounts listed on this tip are for a Facebook of

 "Wardell dockery" and "Kingrob Williams". It should be noted that

 Detective Phenicie and I know the Facebook account of DOCKERY to be

listed under the name, "WardellDockery" and WILLIAMS to have the

Facebook name, "KingRob Williams." Also, attached to said tip is a

photograph of DOCKERY and WILLIAMS standing together.

 e.       A February 2020 tip reported "Warde! dockery and Robert

William carrying big bag of marijuana and sellin it on dey snapchats".

The tipster also submitted a screenshot of an apparent snapchat account

belonging to an individual titled, "KingRob" that shows a large clear

plastic bag which contains a green colored substance that appears to be

consistent with cannabis and is titled "Shop!!"

f.        Most recently, during March 2020, Champaign Police received a

sixth Crime Stoppers tip that reports, "Big BaGs Of Coke nd weed on a

male snap cHat by da snap name of @W ardelldockerl 9 Se ILing

quaNtiTies of drug dealErs". The tip also references "kingrob William"

and describes the vehicle associated with this tip as a black colored
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                Chrysler with tinted windows. Lastly, the tipster lists "Boulder ridge" as

                the subdivision where this drug activity is occurring.

        64.    After identifying tl1e registration on the Chrysler 300 bearing BT50239,

 Detective Phenicie and I have conducted routine spot checks at tl1e SUBJECT

 PREMISES and routinely observed WILLIAMS' Chrysler vehicle at the residence.

 These checks have been conducted by detectives in the early morning hours, as well as

 in the late evening hours.

        65.    I further state that Detective Phenicie was informed by the CI that when

he/ she has purchased narcotics from DOCKERY in the past, DOCKERY has instructed

the CI to go to the Dollar General located at 3001 W. Bradley Avenue in Champaign,

Illinois and wait until he arrives. The CI stated this has occurred on numerous occasions

Since he/ she first began purchasing crystal methamphetamine from DOCKERY.

Following receipt of this information, I conducted an online search of the distance

between SUBJECT PREMISES and the Dollar General at 3001 W. Bradley Avenue. A

Google maps search revealed tl1e distance from the SUBJECT PREMISES to Dollar

General is approximately 0.9 miles. Based on my training and experience in

investigating narcotics trafficking, I know narcotics dealers will often utilize public

locations that are close in proximity to their residence in order to minimize the chance

of law enforcement stopping them at a traffic stop and to minimize exposing their

address to law enforcement or buyers, while keeping the buy location convenient for

themselves.
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         66.    Furthermore, based on DOCKERY's history, I know narcotics dealers to

 often utilize multiple 'stash' houses in order to minimize the likelihood of law

 enforcement personnel locating all of their narcotics and/ or proceeds. This has

 previously been shown to be accurate for DOCKERY, as he has utilized multiple

 addresses as storage for his narcotics and money in the past, as was shown in

 Champaign Police report C14-11095. This report recorded the arrest of DOCKERY and

 the searches of three residences DOCKERY utilized to further his drug trafficking

 activities. Specifically, in that 2014 narcotics investigation, Detective Jeremiah Christian

 identified three (3) separate locations where DOCKERY and his associates were

utilizing for various narcotics related business ventures.

                                           CONCLUSION

       67.     Based on my training and experience, I am aware that persons involved in

the illicit trafficking of narcotics routinely utilize residences to store the drugs they are

distributing as well as the money obtained as a result of those sales. Further, I am aware

that when residences are so utilized, the narcotics trafficker will often visit the residence

immediately before or after a drug sale. As a result, items involved in the trafficking of

narcotics, including drugs, proceeds, records, packaging materials, and scales, are often

located at the residences being used by narcotics traffickers.

       68.     Based on the forgoing, I believe DOCKERY is actively involved in the

trafficking of narcotics, specifically methamphetamine, in and around the Champaign,

Illinois, area. Further, I believe the above facts demonstrate that DOCKERY utilizes the

residence at 3707 Boulder Ridge, Champaign, Illinois (SUBJECT PREMISES) in
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 furtherance of those activities, and that instrumentalities, fruits, and evidence of his

 drug trafficking activities will be located inside the SUBJECT PREMISES.

       69.     Because this investigation is ongoing and its success would be jeopardized

if its contents of this Affidavit were made public at this time, I am requesting that this

Affidavit and the accompanying Search Warrant documents be sealed until further

Court Order.

       70.     Based upon my training and experience in investigating illegal drug

trafficking organizations, including their financial operations, my discussions with

other law enforcement agents with greater experience, and during investigative

interviews, and my participation in the execution of other search warrants, I am further

aware of the following:

                 a. Persons and organizations illegally trafficking in controlled

                    substances generally have large amounts of currency on hand in a

                    location to which they have ready access and which they believe to

                    be secure, since the illegal nature of drug transactions causes them

                    to almost always be conducted in cash.

                 b. Persons and organizations trafficking illegally in controlled

                    substances usually maintain books, receipts, notes, ledgers, or other

                    forms of records relating to the ordering, purchase, receipt sale, or

                    distribution of controlled substances. Drug traffickers commonly

                    obtain and/ or dish·ibute controlled substance on a "front"

                    (consignment) basis and must keep track of money owed by and to
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        them. Records of those and other transactions are typically

       maintained in locations to which the drug traffickers have ready

       access and which they believe to be secure.

 c.    The large amount of currency involved in and derived from illegal

       drug trafficking commonly leads to a variety of financial

       transactions relating to obtaining, transferring, depositing,

       withdrawing, converting, or storing large amounts of currency, and

       spending large sums of money in cash and other forms. It is

       common for drug traffickers to maintain records, receipts, and

       other evidence of such expenditures and financial activities,

      including such items such as jewelry, precious gems, safe deposit

      box keys, and money wrappers, as well as invoices, sales receipts,

      receipts relating to the purchase of financial instruments and the

      transfer of funds, records of real estate transactions, statements of

      account, deposit slips, money orders and cashier's checks and

      related receipts, canceled checks, check registers, other records

      from financial institutions, ledgers, financial statements, stock

      certificates, bonds, other financial instruments, credit card records,

      and similar receipts and records.

d. Because large expenditures of cash by someone with no apparent

      legitimate source for that much currency can arouse suspicions and

      lead to reports to and investigations by law enforcement agencies,
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    drug traffickers commonly engage in various financial transactions

    designed to disguise the source of their drug money or to convert it

    into some apparently legitimate asset or form of income so it can

    be spent or transferred without attracting the attention of law

    enforcement authorities, which is commonly referred to as "money

    laundering." Records of such financial transactions are typically

    retained by the traffickers and include invoices, sales receipts,

    receipts relating to the purchase of financial instruments and the

    transfer of funds, records of real estate transactions, statements of

   account deposit slips, money orders and cashier's checks and

   related receipts, canceled checks, check registers, other records

   from financial institutions, ledgers, financial statements, stock

   certificates, bonds, other financial instruments, credit card records,

   and similar receipts and records.'

e. As part of such money laundering activities, illegal drug traffickers

   often purchase and/ or title their assets in fictitious names or

   aliases, or in the names of relatives, associates, or business entities

   to avoid detection of those assets and their true ownership by the

   government and law enforcement agencies, Even though such

   assets are in names other than the drug traffickers actually own and

  continue to use these assets, and exercise dominion and control
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           over them. Therefore, the records and receipts described above are

           often in the names of nominees.

     f.    Persons and organizations illegally trafficking in controlled

           substances usually maintain books, notes, or other records

           containing personal notations of names, addresses, and/ or

           telephone numbers of their drug customers, suppliers, distributors,

          couriers, and other criminal associates.

 g. Persons involved in illegal drug trafficking very often travel to

          other locations to meet with suppliers, other drug distributors,

          associates, or customers, and subsequently retain records of that

          travel such as receipts for expenditures such as the purchase of fuel

          at service stations or meals, copies of tickets or receipts for public

          transportation, transportation or travel schedules, car rental

          agreements and receipts, and other notes.

h. Persons involved in illegal drug trafficking often take or keep

          photographs of their drug associates, property, or drug product.

          Those photographs are usually maintained at their residences or

          places of drug business.

1.        Persons involved in illegal drug trafficking usually maintained the

          substantial amounts of currency, other assets, and various types of

          records described above in secure locations to which they have
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                      ready access and over which they have control, directly or through

                      others, such as their homes.

         71.   I respectfully submit this affidavit establishes probable cause for a Search

Warrant for the apartment located at 3707 Boulder Ridge Drive Champaign, Illinois

61820.

               Further, affiant sayeth not.          s/Cully Schweska



                                                          Cully Schweska
                                                          ATF Task Force Officer
Subscribed and sworn to before me this
 IO"d
    Es/Eric Long
ERIC I. LONG, United States Magistrate Judge
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                                    Attachment A
                                Property to Be Searched


The SUBJECT PREMISES is described as a tan-colored multi-story town home with

brick trim, an attached garage and the numerals "3707" affixed to the mailbox located at

the end of the driveway of the residence, located at 3707 Boulder Ridge Drive,

Champaign, Illinois. The SUBJECT PREMISES also has an approximate Global

Positioning System (GPS) coordinates of 40.131181, -88.3092397.
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                                       Attachment B
                      Description of Items to Be Seized and Searched

       The following records, documents, items, files, or materials, in whatever form
(such as printed, written, handwritten, or typed) that constitute or contain evidence,
instrurnentalitie_s, or fruits of violations of Title 21, United States Code, Sections 841,
Distribution of a Controlled Substance, including:


   1. Illegal controlled substances;

   2. Substantial amounts of currency; possibly contained in safes, lock-boxes or

      other security containers;

   3. Books; receipts, notes, ledgers, or other physical records evidencing the

      ordering, purchase, receipt, sale, or distribution of controlled substances and/ or

      currency collected from controlled substance transactions, including present or

      past debts owed to or from other persons;

  4. Financial records and other items relating to obtaining, transferring, depositing,

      withdrawing, converting, 9r storing large amounts of currency, or spending

      large sums of money in cash or other forms, including, but not limited to, such

      items and records as jewelry, precious gems, safe deposit box keys, money

     wrappers, invoices, sales receipts, receipts relating to the purchase of financial

     instruments and the transfer of funds, records of real estate transactions,

     statements of account, deposit slips, money orders and cashier's checks and

     related receipts, canceled checks, check registers, passbooks, other records from

     financial institutions, ledgers, financial statements, stock certificates, bonds,

     other financial instruments, credit card records, and vehicle titles;
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 5. Books, notes, or other records containing personal notations of names,

    addresses, telephone numbers, currency notations, insurance information or

    other information related to the distribution of controlled substances or

    monetary transactions;

 6. Tickets, car rental receipts, schedules, notes, or other records evidencing travel

    outside the immediate municipal area;

7. Photographs of other persons, property, currency or controlled substances

    constihlting evidence of associations between persons participating in

   controlled substance trafficking;

8. Records evidencing occupancy or ownership of the premises described above,

   including, but not limited to, utility and telephone bills, mail envelopes, or

   addressed correspondence;

9. Telephone records, bills and receipts of purchase;

10. Cellular telephones;

11. Firearms and ammunition; and

I 2. Paraphernalia for weighing, diluting, packaging, and distributing illegal

   controlled substances including, but not limited to, scales, plastic bags with

   missing corners, grinders, sifters, and diluting agents.
